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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1317V
                                        UNPUBLISHED


    LISA HRICA,                                             Chief Special Master Corcoran

                        Petitioner,                         Filed: June 6, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On October 5, 2020, Lisa Hrica filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA), resulting from adverse effects of an influenza (flu) vaccination
she received on October 5, 2017. Petition at 1. Petitioner further alleges that the
vaccination was administered within the United States, her pain lasted longer than six
months, and neither she, nor any other party, has ever received compensation in the form
of an award or settlement for Petitioner’s vaccine-related injury. Petition at 1, 5. The case
was assigned to the Special Processing Unit of the Office of Special Masters.


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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On May 11, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Respondent determined that “[P]etitioner’s alleged injury is consistent with SIRVA as
defined by the Vaccine Injury Table.” Id. at 10-11. Specifically, Respondent determined
that “[P]etitioner had no history of pain, inflammation, or dysfunction of her left shoulder
prior to the subject vaccination; pain occurred within forty-eight hours of the subject
vaccination; pain was limited to the shoulder in which the vaccine was administered; and
no other condition or abnormality has been identified to explain petitioner’s shoulder pain.”
Id. at 11. Respondent further agrees that Petitioner suffered the residual effects of her
condition for more than six months, satisfying the Act’s severity requirement and that
scope of damages to be awarded is limited to petitioner’s SIRVA and its related sequelae
only. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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